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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA


SYMBOLOGY INNOVATIONS, LLC                       §
                                                 §
       Plaintiff,                                §     CIVIL ACTION NO.
                                                 §     6:16-cv-02203-PGB-KRS
                                                 §
       v.                                        §   JURY TRIAL DEMANDED
                                                 §
THE NORTHERN TRUST COMPANY                       §
                                                 §        LEAD CASE NO.
                                                 §     6:16-cv-02197-PGB-KRS
                                                 §
       Defendant.                                §


    NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Symbology

Innovations, LLC hereby gives notice that the above-styled action is voluntarily dismissed without

prejudice against Defendant Northern Trust Corporation with each party to bear its own costs,

expenses, and attorneys’ fees.



DATED: March 22, 2017                           /s/Sonia Colon
                                                Sonia Colon
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                                                SYMBOLOGY INNOVATIONS, LLC
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 31st day of March, 2017, I electronically filed the foregoing

document with the clerk of the Court for the U.S. District Court, Middle District of Florida, using

the Court’s electronic case filing system. The electronic case filing system sent a “Notice of

Electronic Filing” to the attorneys of record who have consented in writing to accept this Notice

as service of this document by electronic means.

                                                     /s/Sonia Colon
                                                     Sonia Colon
